                Case 2:19-cv-01317-RAJ Document 22 Filed 11/03/20 Page 1 of 3




 1                                                                                      Hon. Richard A. Jones

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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT SEATTLE

 7
     MEGAN MING FRANCIS, et al.,                                        No. 2:19-cv-1317-RAJ
 8
        Plaintiffs,                                                  JOINT MOTION FOR
 9                                 v.                              EXTENSION OF TIME TO
                                                                     FILE JOINT STATUS
10   UNITED STATES DEPARTMENT OF                                          REPORT
     JUSTICE,
11      Defendant.
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     JOINT MOTION FOR EXTENSION OF TIME                                         Alex Abdo (pro hac vice)
     TO FILE JOINT STATUS REPORT– Page 1                                        Knight First Amendment Institute
     Megan Ming Francis, et al. v. Dep’t of Justice, 2:19-cv-1317-RAJ             at Columbia University
                                                                                475 Riverside Drive, Suite 302
                                                                                New York, NY 10115
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                Case 2:19-cv-01317-RAJ Document 22 Filed 11/03/20 Page 2 of 3




 1           Plaintiffs Megan Ming Francis, Matthew J. Connelly, Mary L. Dudziak, Matthew L.

 2   Jones, Hiroshi Motomura, Campaign for Accountability, and the Knight First Amendment

 3   Institute at Columbia University (collectively, “Plaintiffs”) and Defendant United States

 4   Department of Justice (“Defendant”), jointly move for a seven-day extension of time to submit

 5   the parties’ Fourth Joint Status Report to the Court.

 6           On August 11, 2020, this Court issued an Amended Scheduling Order setting November

 7   6, 2020 as the deadline for the parties’ Fourth Joint Status Report. See ECF No. 21. As described

 8   in the parties’ Third Joint Status Report, see ECF No. 20 at 4, the parties have been engaged in

 9   negotiations over the continued production of records responsive to Plaintiffs’ request and

10   whether Plaintiffs will narrow their request. The parties met and conferred telephonically on

11   October 27, 2020 and are diligently continuing to discuss proposals to narrow Plaintiffs’ request

12   and ensure the efficient production of records in this case. To that end, the parties request a brief

13   continuance of the deadline to file the parties’ Fourth Joint Status Report from November 6,

14   2020 to November 13, 2020.

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16   DATED: November 3, 2020                             Respectfully submitted,

17                                                       /s/ Alex Abdo
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                Case 2:19-cv-01317-RAJ Document 22 Filed 11/03/20 Page 3 of 3




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